91 F.3d 134
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Paul ADKINS, Jr., Defendant-Appellant.
    No. 96-6208.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided July 31, 1996.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.  N. Carlton Tilley, Jr., District Judge.  (CR-89-238-S, CA-94-69-4)
      Paul Adkins, Jr., Appellant Pro Se.  Benjamin H. White, Jr., Assistant United States Attorney, Greensboro, North Carolina, for Appellee.
      M.D.N.C.
      AFFIRMED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for relief under 28 U.S.C. § 2255 (1988), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1217.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   United States v. Adkins, No. CR-89-238-S;  CA-94-69-4 (M.D.N.C. Dec. 8, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    